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March 4, 2025

Via Hand-Delivery

Office of the Clerk

Fred D, Thompson Courthouse
719 Church Street

Nashville, TN 37203

Re: Global Weather Productions, LLC v. The Daily Wire, LLC,
Case No. 3:25-cv-00128

To Whom it May Concern:

Enclosed for counter filing is a USB drive containing a video marked as Exhibit A
to the Declaration of Cesar Santos (Dkt No. 17) filed today in the referenced matter. A
copy of this letter and video will be served on opposing counsel via email and U.S. Mail.

Very truly yours,

fo ) =
dL (2LOFt—--——

W. Russell Taber, HI

WRT/ddg
Enclosure

cc (via email and U.S. Mail):
Sangheon Han (sangheon.han@sriplaw.com
Anthony J. Underwood (Anthony.underwood@sriplaw.com)

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